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  OHANA MILITARY COMMUNITIES, LLC and
  FOREST CITY RESIDENTIAL MANAGEMENT, LLC

                IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF HAWAI‘I

 OHANA MILITARY COMMUNITIES,                CIVIL NO. 18-00042 KJM
 LLC and FOREST CITY RESIDENTIAL
 MANAGEMENT, LLC,                           PLAINTIFFS OHANA MILITARY
                                            COMMUNITIES, LLC AND
                   Plaintiffs,              FOREST CITY RESIDENTIAL
                                            MANAGEMENT, LLC’S
       vs.
                                            MOTION TO COMPEL;
                                            MEMORANDUM IN SUPPORT
 CARA BARBER,                               OF MOTION; DECLARATION
                   Defendant.               OF RANDALL C. WHATTOFF;
                                            EXHIBITS 1-4; CERTIFICATE OF
                                            SERVICE


                                            TRIAL: June 12, 2019
                                            JUDGE: Kenneth J. Mansfield
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         PLAINTIFFS OHANA MILITARY COMMUNITIES, LLC
        AND FOREST CITY RESIDENTIAL MANAGEMENT, LLC’S
                      MOTION TO COMPEL

              Plaintiffs Ohana Military Communities, LLC (“Ohana”) and Forest

 City Residential Management, LLC (“FCRM”) (collectively “Plaintiffs”), by and

 through their undersigned counsel, Cox Fricke LLP, respectfully move this Court

 for an order compelling Defendant Cara Barber to (1) produce documents

 responsive to Request Nos. 20-22; and (2) pay reasonable expenses, including

 attorneys’ fees, incurred in bringing this Motion.

              This motion is brought pursuant to Rules 7, 34 and 37 of the Federal

 Rules of Civil Procedure and Local Rule 26.2, and is based on the memorandum

 and declaration attached hereto, the records and files in this case, as well as other

 and further arguments that may be offered at the hearing.

              DATED: Honolulu, Hawai‘i, March 14, 2019.


                                       /s/ Randall C. Whattoff
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                                       OHANA MILITARY COMMUNITIES, LLC
                                       and FOREST CITY RESIDENTIAL
                                       MANAGEMENT, LLC




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